                            IN THE UNITED STATES BANKRUPTCY COTJRT
                             FOR THE NORTHERN DISTRICT OF ALABAMA

   SARAI INVESTMENT CORPORATION                                   CASE NO.: l8-82950-CRJ1       1




   CHAPTER I I


   MOTION TO WITHDRAW CLAIM WITH NOTICE OF OBJECTION DEADLINE AND
                        MOTION TO LIFI STAY


           COMES NOW Attorneys Joe N. Lampley and Whitney E. Tillman, and hereby move thts
   Honorable Court to withdraw Claim No. l3 filed by Lisa Rogers pursuant to Fed. R. Bank. P.
   3006, and lift the stay enjoining all creditors and claimants from proceeding with any legal
   actions pursuant to l1 U.S.C. $ 362(d). In support thereof the undersigned says:

      I   .   On October 3, 20 | 8, Debtor, Sarai Investment Corporation, filed a petition for relief
              under Chapter I I ofthe United States Bankruptcy Code with the United States
              Bankruptcy Court, Northem District of Alabama in the case subjudice.

      2.      Upon said filing, an automatic stay order was issued under the authority ofsaid Federal
              Court, pursuant to I I U.S.C. Section 362, enjoining all creditors and claimants, from
              proceeding with any legal actions at this time.

      3.      At the time of filing the petition for reliefunder Chapter I I ofthe United States
              Bankruptcy Code, Sarai lnvestment Corporation was involved in a pending case in the
              Madison County Circuit Court styled Sarai Investment Corporation vs. Virginia Gilchrist
              et al., CYlS-15.

      4.      On or about J uly 25,2019, the undersigned filed a Motion to Conditionally Lift Stay,
              wherein the undersigned requested to file a counterclaim in the Madison County Circuit
              Court case.

      5.      Said motion was granted, and the counterclaim was filed on or about August7,2019.

      6.      The undersigned represent the Defendants in the above referenced case, including Lisa
              Rogers.

      7.      Ms. Rogers has filed a claim in the bankruptcy case in the amount of$350,000.00.

      8.      Ms. Rogers wishes to withdraw her claim, Claim No. 13, in order to litigate her claim for
              the $350,000.00 in the Madison County Circuit Court pursuant to the counterclaim that
              was filed on August 7, 2019.

      Wherefore, the above premises considered, the undersigned ask this Honorable Court to:




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        Counl! Circuit Court to resulre iitigation.


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                                                                       Rogers
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 /s/ Whitne v E. Tilhnan                             /s/ Joc N. Lamnlev
  Whitncv E. TillmaniTll-0 I 4                       .loc N. Larnpley/LAMO0'l
  ASB i279-P2ltl                                     ASB 920.1-867.r
  Attorney fol Lisa Rogers                           A ttrrrncy Iirt Lisa Rrtgers
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  Huntsville. Alabama 15801                          Huntsville, Alabama 3580 I
  OItice: (256) 535-2226                             Office: (256) 535-2226
  Fax: (256) 535-2227                                Fax: (256) 535-2227
 Enrail: WTi llmanLaw@gmail.com                      E-mail: ioc. lamplev(ilamoleylaw'olllces.com

                                      CERTIFICATE OF SERVICE

        I, Joe N. Lampley, do hereby certify that I have this day of served a copy of the above
and foregoing motion upon the Bankruptcy Trustee, and Attomey Tazewell Shepard by placing
copies ofsarnc in the U. S. Mail, postage prepaid and properly addressed as follows:

Riehard M. BJythe. Tn:stec                                               Tazeu,ell Shepard, P.C.
400 Wells Street                                                         P. O. Box 19045
Decatur. Alabama 15602                                                   Huntsville, AL 3 5804

       This   15      dayofNovember20lg.

                                            /s/ .loe N. Larnoley
                                            Joe N. Lampley/LAM004


                                      cted. You should read these papers carefully and discuss them
                             hay.e 0!e in this bankruptcy case. If you do not have an attomey, vou
                                   do not want the court to allolv rvithdrawal of the claim, or if ycu
                                    views on the motion, then.on or beforegl+!,p te& , you or your-
                                     a written objection r:xplaining_your position.'Those not
                                      xt deliver any objection by U.S. mail, courier,
                                      on at:




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  P.O.Box2775
  Decatur, Alabama 35602

  Ifyou mail your objection to the court, you must mail it early enough so the court will receive it
  on or before the date stated above. You must also send a copy ofyour objection to:

                  Trustee
  Richard M. Blythe,                                           Tazewell Shepard, P.C.
  400 Wells  Street                                            P. O. Box 19045
                 35602
  Decatur, Alabama                                             Huntsville, AL 35804

  Joe N. Lampley
  1330 Washington Street   NW
  Huntsville, Alabama 35801

  Ifyou or your attomey do not f.rake these steps, the court may decide that you do not oppose   an
  order allowing withdrawal of the claim, and may enter an order gnnting that relief




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